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  14                         UNITED STATES DISTRICT COURT
  15                       SOUTHERN DISTRICT OF CALIFORNIA
  16   KATHRYN KAILIKOLE, an                    Case No: 3:18-cv-02877-AJB-MSB
  17   individual,
                                                [Previously San Diego Superior Court
  18                        Plaintiff,          Case No. 37-2018-00058754-CU-WT-NC
                                                before the Honorable Ronald F. Frazier]
  19          v.
                                                JOINT MOTION FOR STIPULATED
  20
       PALOMAR COMMUNITY                        PROTECTIVE ORDER
  21   COLLEGE DISTRICT, a
       governmental entity; and DOES 1          State Complaint: November 20, 2018
  22   through 25, inclusive,
  23                        Defendants.
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                                     JOINT MOTION FOR STIPULATED PROTECTIVE ORDER
                                                       CASE NO. 3:18-CV-02877-AJB-MSB
       FPDOCS 35812031.1
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   1          Plaintiff Kathryn Kailikole (“Plaintiff”) and Defendant Palomar Community
   2   College District (“Defendant”) have agreed to enter into a stipulated protective order
   3   and jointly request that the Court review and approve the Joint Stipulated Protective
   4   Order, attached hereto as Exhibit 1.
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   6    Dated: July 31, 2019                         Respectfully submitted,
   7
                                                     FISHER & PHILLIPS LLP
   8
                                              By: /s/ Kevonna J. Ahmad
   9                                              Regina A. Petty
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                                                  Adam F. Sloustcher
                                                  Kevonna J. Ahmad
  11                                              Attorneys for Defendant
                                                  Palomar Community College District
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  13    Dated: July 31, 2019                         DWIN LEGAL, APC
  14

  15                                          By:      /s/ Evan Dwin
                                                     Evan Dwin
  16                                                 Attorney for Kathryn Kailikole
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                                    JOINT MOTION FOR STIPULATED PROTECTIVE ORDER
                                                      CASE NO. 3:18-CV-02877-AJB-MSB
       FPDOCS 35812031.1
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   1                                INDEX OF EXHIBITS
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   3   Exhibit 1 – Joint Stipulation for Protective Order
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                                                     CASE NO. 3:18-CV-02877-AJB-MSB
       FPDOCS 35812031.1
